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 1    AYNUR BAGHIRZADE
      1968 S. Coast Highway #2429
 2    Laguna Beach, CA 92651
      Phone: 619-630-6646
 3    Email: contact@aynurlawyers.com
 4    AYNUR BAGHIRZADE, IN PRO SE
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 6
 7                      UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                  Case No.: 3:24-CV-01077-RSH-MMP
10     AYNUR BAGHIRZADE,
                                                  MOTION REQUESTING COURT’S
11                             Plaintiff,         CLARIFICATION TO ITS ORDER
                                                  (DOCKET # 75) AND
12             v.                                 CONSIDERING DEFENDANTS
                                                  ATTORNEY SEARCH NETWORK
       ARMENIAN NATIONAL                          AND JAKE BALOIAN’S
13
       COMMITTEE OF AMERICA, et al.,              PREVIOUSLY FILED MOTION TO
14                                                DISMISS FOR LACK OF
                                                  JURISDICTION TO BE FILED ON
15                                                NOVEMBER 18, 2024, OR
                                                  ALTERNATIVELY GIVE
                                                  PLAINTIFF TIME TO RESPOND
16                                                TO THIS MOTION ON OR
                                                  BEFORE NOVEMBER 25, 2024.
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20                                                Presiding Judge: Hon. Robert Huie
                                                  Magistrate Judge : Hon. Michelle M.
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       Motion Requesting Court’s Clarification              Case No.: 3:24-CV-01077-RSH-MMP
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 1
 2           On September 30, 2024, Defendants ATTORNEY SEARCH NETWORK
 3    (ATN) and JAKE BALOIAN filed a motion to dismiss Plaintiff’s First Amended
 4    Complaint (FAC) for lack of jurisdiction. (Docket # 57).
 5           On October 17, 2024, pursuant to Local Rule Rules 7.1. and 7.2., Plaintiff
 6    Aynur Baghirzade (“Plaintiff”) and Defendants ATN and JAKE BALOIAN, by and
 7    through their counsel of record, stipulated and presented their joint motion to
 8    Court, asking to continue the hearing date for the Defendants’s motion to dismiss
 9    for lack of jurisdiction from November 4, 2024, till November 18, 2024. (Docket #

10    71).

11           Further, Court issued an order on October 21, 2024, (Docket # 75) on
      Plaintiff and Defendants’ joint motion and stipulation where granted the extension
12
      and ordered Defendants to file their responses to Plaintiff's First Amended
13
      Complaint by no later than November 18, 2024, while the Defendants filed their
14
      motion to dismiss to Plaintiff’s FAC on September 30, 2024 (Docket # 57). The
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      order also didn’t set any new deadlines for the Plaintiff to respond to Defendants’
16
      motion while it was Plaintiff who needed and requested the extension.
17
             Considering an ambiguity and obvious mistake in Court’s order, Plaintiff
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      talked and emailed to Defendants’ counsel on record on November 12, 2024, and
19    November, 13, 2024, asking for new stipulation to clarify Court order with new
20    deadline for the Plaintiff to answer. In both cases she was promised to be
21    contacted, but was either not contacted or contacted later of the agreed time. On
22    November 12, 2024, Plaintiff had a phone conversation with Defendants’ counsel
23    on record, during which counsel agreed to refile the motion on or before November
24    18, 2024, but refused to confirm this in writing.
25           Considering that Plaintiff was a person who asked for extension, and the
26    order erroneously directs Defendants to file their motion to FAC on or before
27    November 18, 2024, and no new deadlines were set for Plaintiff to respond to

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 1    Defendants’ previously filed motion as well as to avoid the risk of Court’s possible
 2    ruling on Defendants’ previously filed motion, Plaintiff hereby respectfully asks
 3    Court to clarify its previous order (Docket # 75) and grant Plaintiff extension to
 4    respond to Defendants’ motion to dismiss for lack of jurisdiction (Docket # 57) and
 5    either consider Defendants’ motion to be filed on November 18, 2024, or extend
 6    Plaintiff’s right to file her answer to this motion till November 25, 2024.
 7
 8
 9                                                    Respectfully submitted,

10
      Dated: November 13, 2024                        Plaintiff, Aynur Baghirzade
11
12                                                    By: /s/ Aynur Baghirzade
                                                      Aynur Baghirzade
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                                                      Email: contact@aynurlawyers.com
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       Motion Requesting Court’s Clarification               Case No.: 3:24-CV-01077-RSH-MMP
